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EXHIBIT D
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April 24, 2020

 

1 UNITED STATES DISTRICT COURT
2 SOUTHERN DISTRICT OF FLORIDA
3 CASE NO. 9:18-cv-80176-BB/BR
4

IRA KLEIMAN, as the personal representative
5 of the Estate of David Kleiman, and
W&K Info Defense Research, LLC,

6
Plaintifts,
7
-vs-
8
CRATG WRIGHT,
9
Defendant.
10
LL kK kK Kk Kk Ke KeOOKReOCOKOOKOKOKOKOKOKOKOKOKOKO

12 TELECONFERENCE DEPOSITION OF ANDREAS ANTONOPOULOS
13 DATE TAKEN: April 24, 2020

14 TIME: 8:30 a.m. - 1:40 p.m.

15
TAKEN BEFORE: RICK E. LEVY, RPR, FPR
16 AND NOTARY PUBLIC

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1 that?
2 A. Anyone could observe it prior to it being
3 included and certainly after it has been included.

4 However, for purposes of a financial transaction there
5 is still a small probability that a block may be

6 orphaned or reorganized and the block chain may be

7 rewritten. That probability drops dramatically as more

8 blocks are added.

9 So for practical purposes a recipient of a
10 transaction has some risk accepting that that
11 transaction is final if it is mined in one block and

12 that risk drops after it's mined two, three, four et
13 cetera. For most purposes six blocks is considered
14 enough and that equation is described in the Bitcoin

15 white paper.

16 Q. And on average how long would it take to mine
17 six blocks?

18 A. An hour.

19 Q. So after an hour somebody should know with

20 relative certainty that a transaction went through and

21 that Bitcoin were moved?
22 A. Yes, at that point the probability of all six
23 blocks being reorganized is low. So depending on the

24 value that we're talking about each recipient will form

25 their own risk judgment as to that. I've sold a car for

 

 

 

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1 three confirmations. I would wait six confirmations for
2 a house or maybe longer. It depends on the value of the
3 transaction is what I'm trying to allude to.

4 Q. Have you done any analysis to determine

5 whether the Satoshi Fingerprint Bitcoin were mined by

6 Dave Kleiman?

7 A. Sorry, I don't understand the question.
8 Q. You stated that there is a set number of
9 identified Bitcoin that are known to essentially have

10 the Satoshi fingerprint; right?

11 A. Yes, the mining pattern let's call it, yes.

12 Q. And the idea behind that is that Satoshi mined
13 those Bitcoin; correct?

14 A. That's the hypothesis, yes.

15 Q. That's the hypothesis that you put in your

16 report?

17 A. And also the hypothesis that defendants

18 posited in criteria provided to Shadders.

19 Q. That's fine. Now, my question is did you do
20 any analysis to determine whether Dave Kleiman mined any
21 of those Bitcoin?

22 A. I have no way of knowing who mined what

23 Bitcoin. I did not analyze -- I did not analyze the DK
24 list which presumably was associated with Dave Kleiman

25 for that pattern.

 

 

 

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1 Q. But I'm not referring to DK list. I am just

2 referring to the Satoshi fingerprint Bitcoin. Did you

3 do any analysis of that list to see whether Dave was
4 involved in mining those Bitcoin?
5 A. I have no way of knowing who was involved or

6 not. I did analyze that pattern for specific address

7 lists and only for specific addresses. I did not look

8 for that pattern across the entire block chain. I

9 simply looked at that pattern in the specific address

10 lists.

11 Q. Now, I believe I asked you twice whether you
12 had tried to analyze whether Dave was involved in mining
13 them and you responded that you're not able to do that.
14 Does that mean you didn't do it?

15 A. Mining is an anonymous activity. I have no

16 way of doing that.

17 Q. Let me ask you would you view that as a finite
18 amount of Bitcoin?

19 A. Yes.
20 Q. And is there some knowledge as to some Bitcoin
21 being mined by certain people?
22 A. There is speculation about some Bitcoin being
23 mined by certain people, yes.
24 Q. Well, do you provide an opinion that certain

25 Bitcoin were mined by Satoshi?

 

 

 

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1 A. I don't believe I have provided an opinion as
2 to which Bitcoin were mined by Satoshi. I don't know

3 how it is not possible to provide an opinion about that.
4 Q. But you do provide an opinion about some

5 Bitcoin being sent by Satoshi?

6 A. Yes. It is -- using the totality of the

7 information out there and my experience and I strongly
8 believe that Satoshi mined certainly the first several
9 hundred blocks and it is my opinion that Satoshi was

10 involved in mining for the first two years of the life
11 cycle of Bitcoin at least and therefore mined more than
12 just the first hundred blocks.

13 As far as I know for the first hundred blocks

14 Satoshi was the only miner on the network because we

15 have no indication that anyone joined the mining until
16 later.

17 Q. Okay. Do you agree that there is a finite
18 amount -- nevermind.

19 A. If you'll excuse me for one second.

20 Q. We can take a break if you would like. Any
21 time you want a break just let me know.

22 A. Thank you.

23 Q. Are you familiar with something termed the

24 Shadders Bug?

25 A. Yes.

 

 

 

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1 breakdown of the actual work you did; is that correct?

2 A. That's correct.

3 Q Is that your custom to do so?

4 A. It is now.

5 Q. When did that custom change?

6 A I just provide the information that's -- that

7 was requested which is the time that I worked.

8 Q. So is it fair to say it is not your practice
9 to provide detailed information as to the work done?
10 A. Yes.

11 Q. Then now we're going to go on to the other

12 invoice which is dated January 8th 2020 and there in the
13 descriptions you have one where it says expert witness

14 report preparation, deposition, other work. Other line

15 entry is travel and accommodation expenses; correct?
16 A. Yes.
17 Q. Looking at the invoice is there any other

18 source of information where there is additional detail
19 as to the work that you did?

20 A. I provided time sheets again with this invoice
21 that was simply a subset of the other time sheet you

22 just showed me as Exhibit 2.

23 Q. That one would just show the amount of time

24 that you spent on a specific date; correct?

25 A. That's correct.

 

 

 

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1 Q. It won't actually state what work you had
2 done?
3 A. That's correct.
4 Q. I'm going to stop the screen share for now.

5 Mr. Antonopoulos, did anybody tell you --

6 Other than conversations with counsel did

7 anybody tell you not to keep records of your time in

8 this case?

9 A. Did anybody tell me not to keep records of my
10 time? No, I do keep records of my time. Nobody told me
11 not to keep records of my time.

12 Q. How about not to keep a detailed description
13 of what work you did in specific time entries?
14 A. No one has told me anything about how I keep

15 my own records.

16 Q. That was your own decision?
17 A. Yep.
18 Q. Mr. Antonopoulos, we had previously spoken

19 about transaction IDs on the Bitcoin block chain?

20 A. Today, yes.

21 Q. Yes. And I believe you had testified that a
22 transaction ID is a hash of certain data; correct?

23 A. That's correct.

24 Q. And what does that certain data include?

25 A. The transaction ID is a hash of certain fields

 

 

 

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1 within the transaction including the transaction version

2 and the transaction inputs and the signatures on those

3 inputs and the transaction outputs.

4 Q. Does it include transaction -- does it include
5 the Bitcoin address?

6 A. There are multiple Bitcoin addresses. Yes, it

7 includes all Bitcoin addresses that are included in the
8 transaction. Bitcoin addresses are represented

9 differently inside a transaction than commonly seen but
10 yes, it includes those Bitcoin addresses.

11 Q. I want to narrow my question a little bit for
12 mined Bitcoin, so coin based transactions.

13 A. Yes.

14 Q. The transaction ID it includes the address

15 where you want the Bitcoin to be sent to; correct?

16 A. It mines in the Bitcoin based transaction and
17 in the more narrow case of the mined Bitcoin in the

18 period we're talking about it does not include the

19 address because these payments are so called paid to
20 public key rather than paid to public key hash. So they
21 contain the public key.
22 The address is simply a derivative of the
23 public key so indirectly yes but they don't directly
24 refer to addresses in the coin based transaction.

25 Q. That's fair. So would it be accurate to say

 

 

 

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1 though that the hash does include the public key in the

2 time the Bitcoin in question were mined?

3 A. It includes the public key to which the

4 Bitcoin from the coin bases is directed, yes.

5 Q. And if one were to change the public key then

6 you would also have a different hash?

7 A. That's correct.

8 Q. Is there anything stopping anybody from

9 generating whatever public key they would like?

10 A. Yes, there's nothing stopping anyone from
11 generating as many public keys as they want.

12 Q. How about the coin base input, is that also

13 part of the hash for the transaction ID?

14 A. Yes. And the information in the coin base

15 input could be modified quite extensively in any way

16 that one wishes.

17 Q. And any modification would produce a different

18 hash; correct?
19 A. That's correct.
20 Q. I believe before we stopped we were around

21 paragraph 134 and 135 in your report?

22 A. Yes, that's my recollection too.

23 Q At least we agree on something.

24 A. We agree on many things.

25 Q Fair enough. So let's look at paragraph 134.

 

 

 

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1 You have a sentence the second sentence says "this

2 strongly suggests that the CW List was also derived from
3 a subset of the Shadders' List or produced by the same

4 software containing the Shadders Bug."

5 A. Yes. However, I believe that's poorly worded.
6 I believe my intention was to say something more along

7 the lines of or produced by software containing the same

8 Shadders Bug. Not the same software but software that

9 contains the same bug. The sentence is poorly phrased.
10 Q. Thank you for that clarification. Have you
11 ever seen the Shadders software?

12 A. I have not.
13 Q. And your understanding of the bug is based on

14 Mr. Shadders' testimony?

15 A. The concept of the Shadders Bug, the fact that
16 such a bug existed in the production of the Shadders

17 list was introduced by the Shadders testimony but I

18 understand how and why such a bug would occur, the

19 parameters of how it would manifest itself in the

20 results.

21 So I understand what my bug is. I've seen
22 bugs like this many times before. It's a relatively
23 common form of bug with a rather peculiar manifestation

24 in this case.

25 Q. Could you please turn to paragraph 144 of your

 

 

 

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1 report?
2 A. 144°?
3 Q. Yes, on page 29.
4 A. Yes.
5 Q. Are you able to summarize what your opinion

6 is? I was just having a little bit of difficulty
7 because it's many pages. Can you kind of give me a
8 higher level summary of what your opinion is from

9 paragraphs 144 through 158?

10 MR. ROCHE: Objection, form. The report
11 speaks for itself. You can answer.
12 THE WITNESS: Sorry, 144 through again?

13 BY MR. KASS

14 Q. 158.
15 A. So in this section I'm talking about the
16 analysis of a particular signed message and was

17 published in 2019 and talking about the process by which
18 I verified that that message was properly signed and the
19 implications of that.

20 Q. Are you offering an opinion as to the truth of
21 the message that is embedded in the Bitcoin transaction
22 that is identified at paragraph 147 of your report?

23 A. I'm offering an opinion as to the truth of

24 parts of the message in 147.

25 Q. I could break that down. How about the

 

 

 

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